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                         Exhibit 1
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Date: Sun, Feb 9, 2025 at 10:14 PM
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  Dear Colleagues,

  We have received a list of awards that Secretary Rubio has reviewed and identified for
  termination for convenience.

  We request your support in taking action on these activities by issuing notices to our
  partners. Once you’ve taken action, please note this on column A of the tracker. If
  you are not the current POC, please update and notify the correct person.

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  Before proceeding with any terminations, please coordinate with your relevant technical
  and program colleagues to ensure that no awards fall under the Humanitarian
  Assistance, PEPFAR, or any other relevant approved waivers.

  For your convenience, M/OAA Policy has drafted several templates to assist with this
  process. You can access them here:Termination Notices Templates (A&A)

  Please let us know if you have any questions or require further guidance.

  Jami

  Jami J. Rodgers, CPCM

  U.S. Agency for International Development (USAID)
  Chief Acquisition Officer and Senior Procurement Executive
  Director, Bureau for Management Office of Acquisition and Assistance (M/OAA)
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